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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


John Doe,                                                Case No. 19-cv-1878 (MJD/LIB)

                      Plaintiff,

       v.                                                         ORDER

Carleton College,

                      Defendant.


       This matter comes before the undersigned United States Magistrate Judge pursuant to a

general assignment made in accordance with the provisions of 28 U.S.C. § 636, upon Plaintiff

John Doe’s (“Plaintiff”) Motion to Allow Plaintiff to Proceed Using a Pseudonym. [Docket No.

2]. Following a Motions Hearing, the Court took Plaintiff’s Motion, [Docket No. 2], under

advisement. (Minutes [Docket No. 22]).

       For the reasons discussed herein, Plaintiff’s Motion to Allow Plaintiff to Proceed Using a

Pseudonym, [Docket No. 2], is DENIED.

I.     Background

       Plaintiff initiated the present case against Defendant Carleton College on July 17, 2019,

by filing his Complaint. [Docket No. 1]. The allegations in Plaintiff’s Complaint arise out of

Plaintiff’s expulsion by Defendant after Plaintiff was accused of sexual misconduct by Jane Doe,

a fellow student, and Defendant found that Plaintiff had violated Defendant’s sexual misconduct

policy. (Compl. [Docket No. 1]). Plaintiff alleges that Defendant conducted its investigation of

the alleged sexual misconduct in a manner which prejudiced Plaintiff’s rights and discriminated

against him based on his gender. (See, Id.).
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        Plaintiff’s Complaint alleges in great detail the events and circumstances surrounding his

interactions with Jane Doe, including the details leading up to and encompassing their sexual

encounter, as well as, the details regarding the subsequent investigation into the alleged sexual

misconduct and the findings of that investigation. (See, Id. at ¶¶ 35–209).

II.     Plaintiff’s Motion to Allow Plaintiff to Proceed Using A Pseudonym. [Docket No. 2].

        Plaintiff’s present Motion, [Docket No. 2], seeks an Order of this Court permitting him to

prosecute this case through the use of the pseudonym, John Doe. (See, Plf.’s Mot. [Docket No.

2]).

           A. Standard of Review

        Federal Rule of Civil Procedure 10(a) requires pleadings to contain the names of all

parties. This requirement creates a presumption in favor of publicly identifying litigants under

their true names rather than proceeding pseudonymously. See, Fed. R. Civ. P. 10(a); Luckett v.

Beaudet, 21 F. Supp. 2d 1029, 1029, (D. Minn. 1998). However, there are exceptions to Rule

10(a), as well as, countervailing considerations which can overcome the presumption in favor of

publicly identifying litigants. See, In re Ashley Madison Customer Data Security Breach Litig.,

MDL No. 2669, 2016 WL 1366616, at *3 (E.D. Mo. Ap. 6, 2016). For example, in cases where

the injury being litigated against would itself be incurred as a result of the identification of the

plaintiff, the presumption in favor of publicly identifying litigants may sometimes give way to a

plaintiff’s privacy interest. See, Doe v. University of St. Thomas, 2016 WL 9307609, at *1–4 (D.

Minn. May 25, 2016).

           B. Analysis

        Plaintiff’s request to proceed pseudonymously implicates a balancing of public and

private interest. The procedures surrounding the Defendant’s sexual misconduct investigation

underlying the claims in this case are of the same type which are presently subject to significant

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national debate, and they are of importance to the public, as well as, the higher education

community. See, Doe¸ 2016 WL 9307609, at *1–4. Lawsuits similar to the present action are

being filed across the nation, and they are the basis for a legal and policy debate regarding what

procedures ought to be required for investigating allegations of sexual misconduct on campus;

such as the sexual misconduct investigation underlying the present Complaint. See, Id.

Therefore, in resolving the present Motion, the Court must balance the Plaintiff’s request for

anonymity against the public’s right to meaningfully access and assess this Court’s judicial

records.

        In the present case, Plaintiff asserts that “the balancing test falls in favor of allowing

[him] to proceed under an assumed name.” (Plf.’s Mem., [Docket No. 3], at 3). In support of his

assertion, Plaintiff argues his Motion should be granted because he “was wrongfully accused”;

he “is taking action to clear his name after a biased and unfair investigation”; “he is addressing

matters that are highly personal in nature and which will subject him . . . to embarrassment if he

is required to proceed under his true name”; and “[t]he allegations against [him] are highly

personal and the sort of allegations that have a high likelihood of causing him irreparable harm

for the rest of his life.” (Plf.’s Mem., [Docket No. 3], at 3). Thus, Plaintiff concludes “[r]equiring

[him] to proceed under his true name in this matter will only cause the embarrassment and harm

to Plaintiff’s name and reputation that has already occurred to be increased exponentially as he

fights to clear his name.” (Id.).

        Plaintiff’s argument does not acknowledge the fact that he has previously been publicly

identified through several media outlets, and he has been specifically identified in the media by

his true name as the plaintiff in the present action. Although the arguments in Plaintiff’s written

memorandum fail to account for the fact that his true name as Plaintiff in the present action is

already known to the public, at the Motions Hearing, Plaintiff’s counsel acknowledged that

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Plaintiff had been publicly identified by his true name in the media as having had criminal

charges raised against him related to the alleged sexual misconduct underlying the present case.

His counsel further acknowledged that Plaintiff has been publicly identified as Plaintiff in the

present action. (September 23, 2019, Motions Hearing, Digital Record at 1:35–1:50).

        Despite these acknowledgments, Plaintiff maintains that because he has now expunged

the criminal charges from his record, the proverbial “cat is back in the bag.” (See, Id.) (emphasis

added). 1 Essentially, Plaintiff argues that because he has expunged the criminal charges from his

record (meaning the public can arguably no longer learn his identity through a public records

check) and because hypothetically the passage of time will diminish the readily availableness of

the public’s access to his identification in the media via the internet, he has put the proverbial

“cat back in the bag.” (See, September 23, 2019, Motions Hearing, Digital Record at 1:35–1:50)

(emphasis added).

        The Court is not persuaded by Plaintiff’s argument here. Despite Plaintiff’s expungement

of the criminal charges from his record, Plaintiff’s identity is already known by members of the

public, and through the various media outlets and internet as discussed, his identity remains

readily available to the public in connection with the present action, as well as, in connection

with the alleged sexual misconduct underlying the present action. Defendant identified eight

media articles which describe Plaintiff by his true name as the person against whom criminal

charges were raised in connection with the incident underlying the present action, and several of

those articles provide factual details regarding the incidents underlying the present civil action.

(Exhibit 1 [Docket No. 11-1]). Defendant further identified seven articles which specifically


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  In his memorandum in support of the present Motion, Plaintiff asserted that he intended to have the criminal
charges expunged from his record. At the Motions Hearing, Plaintiff’s counsel asserted that it was his understanding
that Plaintiff had, at that point, succeeded in having the charges expunged from his record; however, Plaintiff’s
counsel was unable to offer any evidence in support of that belief. Regardless, for the purposes of the present
Motion, the Court will assume Plaintiff has succeeded in having the criminal charges expunged from his record.

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name Plaintiff by his true name as Plaintiff in the present matter; many of these articles again

provide a factual description of the prior alleged sexual misconduct incidents underlying the

present action. (Exhibit 2 [Docket No. 2]). In addition to these examples provided by Defendant,

Plaintiff’s counsel acknowledged that the articles Defendant highlighted represent only a portion

of the myriad of other articles available which identify Plaintiff as the person against whom

criminal charges were raised in connection with the alleged sexual misconduct underlying the

present action, as well as, additional articles which identify him by his true name as Plaintiff in

the present matter.

        Other than the mere assertions of his counsel, Plaintiff cannot demonstrate any

meaningful basis for his argument that time will diminish the availability of his true identity and

his connection to the present action in various media outlets. Regardless of the self-described

expungement of the criminal charges from his record, Plaintiff is still very much publicly

identified by his true name as the plaintiff in the present civil matter. Several of those articles

which identify Plaintiff as the person bringing the present action in fact contain quoted excerpts

from Plaintiff’s very own Complaint. [Docket No. 1].

        If the Court were to permit Plaintiff to proceed using a pseudonym, it would do little, if

any, good to protect his identification as Plaintiff in the present case here because his true

identity as Plaintiff in this case is currently readily available to the public through several media

outlets. Moreover, to permit Plaintiff to proceeds using a pseudonym would do little, if any, good

in limiting Plaintiff’s connection to the sexual misconduct allegations underlying the present

action as several of the articles available to the public provide factual context for the criminal

charges previously raised against Plaintiff. Given this already and widely available public

information, Plaintiff’s privacy interest in proceeding pseudonymously, if such an interest can

even be said to still exist, is greatly diminished.

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         At the Motions Hearing, Plaintiff’s counsel made passing references to several cases

from outside this District in support of his contention that Plaintiff should be permitted to

proceed using a pseudonym because, according to Plaintiff’s counsel, other, similar cases had

permitted plaintiffs to do so. In an improperly filed reply memorandum, 2 Plaintiff’s counsel

listed twenty-four cases in support of his contention that a “review of more factually similar and

recent cases shows that such cases are frequently litigated pseudonymously.” (Plf.’s Mem.,

[Docket No. 15], at 2–3). The Court finds Plaintiff’s reliance on the cases to be misplaced.

         Each of the cases from other Districts which Plaintiff referenced is materially

distinguishable from the present action. Unlike Plaintiff in the present action, the plaintiff’s

identity was previously unknown to the public in each of the referenced case. The referenced

cases lack any indication that any plaintiff’s identity was previously known to the public but

proceeding pseudonymously was allowed nonetheless. As already discussed, the present

Plaintiff’s identity is readily and widely available to the public, and he has already been

specifically and publicly identified by his true name as Plaintiff in the present action.

         The Court also notes that the cases cited by Plaintiff lack any discussion of why the

respective plaintiffs were permitted to proceed under a pseudonym. Instead, the case Plaintiff’s

counsel cited from various Courts outside this District discuss the underlying merits of the

respective plaintiff’s claims. Those opinions simply referred to the plaintiffs pseudonymously

without any discussion as to why the Court permitted the exception to Rule 10(a).

         At the Motions Hearing, Plaintiff’s counsel also made passing reference to cases from

this District which he believes support granting Plaintiff’s Motion. (See, September 23, 2019,



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  Local Rule 7.1(b) does not permit the filing of a reply memorandum in support of a nondispositive motion, such as
Plaintiff’s present Motion. The Court does not discuss Plaintiff’s improperly filed reply brief to encourage the filing
of such improper briefs; rather, the Court considers Plaintiff’s improperly filed brief only to provide context and
citation to Plaintiff’s counsel oral arguments at the September 23, 2019, Motions Hearing.

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Motions Hearing, Digital Record at 1:35–1:50) (referencing Doe v. University of St. Thomas,

No. 16-cv-1127 (ADM/KMM), 2016 WL 9307609 (D. Minn. May 25, 2016)).

       Similar to the present case, Doe v. University of St. Thomas involved a male college

student who, after being found responsible by the defendant university for alleged sexual

misconduct was suspended, brought suit against the school alleging, among other things, several

violations of the Title IX. See, Doe v. Univ. of St. Thomas, 240 F. Supp. 3d 984, 988 (D. Minn.

2017). Plaintiff there moved for, and was granted, permission to proceed under a pseudonym. In

granting that permission to proceed pseudonymously, the St. Thomas Court reasoned that if that

plaintiff were identified at that time, the injury against which he was litigating could be

inadvertently incurred before the outcome of his case was known, and his identification at that

point in time could have resulted in furthering the exact harm he was attempting to resolve in his

case. Doe v. University of St. Thomas, 2016 WL 9307609, at *1–4 (D. Minn. May 25, 2016). If

that were to occur, the St. Thomas Court reasoned plaintiff would not have been able to obtain

complete relief, even if he were to ultimately prevail in his case because “forcing Mr. Doe to

proceed under his true name would guarantee a permanent label as a sexual offender,

discoverable with a simple Google search; that is arguably worse than the reputational harm he

complains of” in his litigation. Doe v. University of St. Thomas, 2016 WL 9307609, at *2 (D.

Minn. May 25, 2016).

       However, despite Plaintiff’s counsel’s reliance on Doe v. University of St. Thomas, 2016

WL 9307609 (D. Minn. May 25, 2016), the application of the reasoning of that case to the

circumstances of the present case does not support Plaintiff’s contention that his present Motion

to proceed pseudonymously should be granted. In the St. Thomas case the plaintiff’s identity was

then still unknown to the public, and the Court reasoned that revealing his identity to the public

could cause the exact harm he sought to prevent. However, in the present case, has previously

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laid out above, Plaintiff’s identity here is known to the public, and regardless of the outcome of

the present Motion, Plaintiff identity, as the person against whom criminal charges were raised

regarding the alleged on campus sexual misconduct and his publicly known identity as the

plaintiff in the present action, is already known and will remain known to the public. That

information about the Plaintiff in the present case also remains readily available to the public

through various media outlets.

       In cases more analogous to the circumstance of the present case, Courts have reluctantly

not allowed parties to proceed under a pseudonym where their identity was already publicly

known or otherwise widely discernible because, in such instances, the benefit of proceeding

under a pseudonym has already been defeated. For example, in Doe v. Shakur, 164 F.R.D. 359

(S.D.N.Y. 1996), for example, the plaintiff was the victim of a “brutal sexual assault.” Id. at 361.

The Court, while noting that public embarrassment is not enough on its own to allow a party to

proceed anonymously, found that there was evidence that the press was already aware of

plaintiff’s identity, residence, and place of employment. Id. at 362. Thus, the Court held that the

plaintiff was not entitled to proceed under a pseudonym because her true identity was already

widely discernible by the public. Id.

       Similarly, in Doe v. University of Rhode Island, the plaintiff, a former student of the

defendant university, alleged that she was sexually assaulted as a result of the negligence of the

defendants. Doe v. University of Rhode Island, 28 Fed. R. Serv. 3d 366 (D.R.I. 1993). At the

time of the suit, plaintiff was a student at a different school, and she sought to sue anonymously

to avoid the social stigma associated with being a victim of sexual assault, and risk of harassment

or ostracism at her new school. Id. While the Court noted that plaintiff might be subject to “some

personal embarrassment and perhaps ridicule,” the Court denied her request to proceed under a



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pseudonym because her identity was well known to students at the defendant University of

Rhode Island, and that she had been publicly named in a related case. Id.

       As illustrated by these examples, Courts consistently deny a party’s request to proceed

under a pseudonym where that person’s identity has in fact already been made public or is

otherwise readily discernible. See, e.g., Doe v. Word of Life Fellowship, Inc., No. 11-40077-

TSH, 2011 WL 2968912, at *3 (D. Mass. July 18, 2011) (denying a party’s motion to proceed

pseudonymously based on a finding that the moving party’s identity was already public

knowledge); Mateer v. Ross, Suchoff, Egert, Hankin Maidenbaum & Mazel, P.C., 1997 WL

171011 (S.D.N.Y. Apr. 10, 1997) (denying motion to proceed under a pseudonym where moving

party’s name was publicly available in concurrent litigation); Doe v. Shakur, 164 F.R.D. 359

(S.D.N.Y. 1996); Doe v. University of Rhode Island, 28 Fed. R. Serv. 3d 366 (D.R.I. 1993). The

Court finds persuasive the rationale of these more analogous cases.

       There is no circumstance under which this Court could prevent the public from being

aware of Plaintiff’s identity or his connection to the circumstances giving rise to this case—even

if Plaintiff is ultimately completely successful in the present action—because the public is

already aware of Plaintiff’s identity, and that information will remain readily available to the

public. Accordingly, the Court finds unpersuasive Plaintiff contention that Doe v. University of

St. Thomas, 2016 WL 9307609 (D. Minn. May 25, 2016), is analogous to the present case and

warrants permitting Plaintiff to proceed under a pseudonym in the present action.

       As the Honorable Katherine Menendez, Magistrate Judge for the United States District

Courts, District of Minnesota, observed in Doe v. University of St. Thomas, “whether students

should be allowed to sue over their schools’ sexual assault policies using a pseudonym does not

admit of a universal answer”; rather “[t]he question is left to the discretion of the Court to

balance the many competing factors in individual cases, and courts around the country have

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struck that balancing differently.” Doe v. University of St. Thomas, 2016 WL 9307609, at *4 (D.

Minn. May 25, 2016) (citing Doe v. Temple Univ., 2014 WL 4375613, at *2 (E.D. Pa. Sept. 3,

2014) (denying motion to proceed using a pseudonym)).

           Therefore, after balancing the relevant factors in light of the circumstances before the

Court in the present case, Plaintiff’s Motion to Allow Plaintiff to Proceed Using a Pseudonym,

[Docket No. 2], is DENIED. As soon as practicable and in any event no later than November 1,

2019, Plaintiff shall file an Amended Complaint identifying himself by his true name without the

use of the John Doe pseudonym. 3

III.       Conclusion

           For the foregoing reasons, and based on all of the files, records, and proceedings herein,

IT IS HEREBY ORDERED THAT:

       1. Plaintiff’s Motion to Allow Plaintiff to Proceed Using a Pseudonym, [Docket No. 2], is

           DENIED; and

       2. As soon as practicable and in any event no later than November 1, 2019, Plaintiff shall

           file an Amended Complaint identifying himself by his true name without the use of the

           John Doe pseudonym.




Dated: October 25, 2019                                                  s/Leo I. Brisbois
                                                                         Hon. Leo I. Brisbois
                                                                         U.S. MAGISTRATE JUDGE




3
    This Amended Complaint ought contain no other alterations. See, Fed. R. Civ. P. 15(a).

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